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October 29, 2020



Via ECF

The Honorable John R. Tunheim
United States District Court
300 South Fourth Street
Minneapolis, MN 55415

Re:      In re Pork Antitrust Litigation, 18-cv-01776-JRT-HB
         Commonwealth of Puerto Rico v. Agri Stats, Inc., et al., 19-cv-02723-JRT-HB
         Winn-Dixie Stores, Inc., et al. v. Agri Stats, Inc,. et al., 19-cv-01578-JRT-HB
Dear Chief Judge Tunheim:

Seaboard Corporation respectfully requests permission to file a motion for reconsideration of the
October 16, 2020 Order (the "2020 Order") denying the motions to dismiss filed by Seaboard
Corporation (along with Seaboard Foods LLC) in the above-named matters (Pork ECF No. 519,
denying motions filed at Pork ECF No. 450; Puerto Rico ECF No. 75; Winn-Dixie ECF No. 114).
The motion concerns a ground for dismissal advanced by Seaboard Corporation, as a parent
company, that the Court addressed in its August 8, 2019 Order dismissing the previous complaints,
Pork ECF No. 360 (the "2019 Order"), but did not address in the 2020 Order.

In their motion to dismiss the earlier complaints, the Seaboard defendants argued that "Plaintiffs
allege nothing about Seaboard Corporation beyond its ownership of Seaboard Foods. The
Complaints therefore do not state a claim against Seaboard Corporation regardless of whether [the]
lawsuits survive against Seaboard Foods." Pork ECF No. 178 at 2. Although the 2019 Order
dismissed the claims against the defendants on other grounds, the Court made note of this additional
deficiency, observing that “[c]ourts have generally held that, in order for antitrust allegations
against a subsidiary to be fairly made against the parent company, there must be allegations that the
parent company actually engaged in anti-competitive conduct and not merely that it served as parent
to its wholly-owned subsidiary.” In re Pork Antitrust Litig., 2019 WL 3752497 at *9 n.11 (citation
omitted).

When the Plaintiffs filed amended complaints after the 2019 Order, the Consumer Indirect
Purchaser Plaintiffs ("Consumer Plaintiffs") appropriately dropped their claims against Seaboard
Corporation. Compare Pork ECF No. 392 at 7, with Duryea, et al. v. Agri Stats, et al., ECF No. 74
at 1. However, the other Plaintiffs again named Seaboard Corporation as a defendant. See Pork
ECF No. 431 at 3; Pork ECF No. 432 at 3; Puerto Rico ECF No. 103 at 1; Winn-Dixie ECF No. 94


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at 1. In their motions to dismiss these amended complaints, in addition to other arguments, the
Seaboard defendants again noted that Plaintiffs failed to allege any conduct by Seaboard
Corporation beyond its ownership of Seaboard Foods:

         Apart from being the parent company of Seaboard Foods, Seaboard Corporation is
         not alleged to have any connection to the conduct at issue in the Amended
         Complaints. Plaintiffs attempt to evade their pleading obligation by simply calling
         both the parent and the subsidiary “Seaboard,” and then alleging that “Seaboard”
         joined the conspiracy. . . . Because Plaintiffs fail to allege the predicates for suing
         a parent company, see Pork, 2019 WL 3752497, at *9 n.11, the Amended
         Complaints do not state plausible claims against Seaboard Corporation.

Pork ECF No. 451 at 12. To the extent Plaintiffs responded, they did so in an argument that did
not address the allegations against Seaboard Corporation, in particular, or the pleading standard
set forth in the Court's 2019 Order. Pork ECF No. 479 at 18, 5.

The 2020 Order does not address the sufficiency of Plaintiffs' pleading with respect to Seaboard
Corporation as a parent company. In particular, the Court did not analyze whether the amended
complaints that named Seaboard Corporation satisfied the Court's previously stated requirement
that “there must be allegations that the parent company actually engaged in anti-competitive
conduct and not merely that it served as parent to its wholly-owned subsidiary.”

Seaboard Corporation submits that, for the reasons set forth in its motions to dismiss, the amended
complaints do not satisfy the requirements for stating a claim against Seaboard Corporation as the
parent company of Seaboard Foods. Accordingly, Seaboard Corporation requests permission to
file a motion for reconsideration of the Order denying the motions to dismiss filed by Seaboard
Foods LLC and Seaboard Corporation, limited to the denial of the motions as to Seaboard
Corporation.

Because this issue has already been briefed, see Pork ECF No. 451 at 12, Pork ECF No. 479 at 18,
5, Seaboard Corporation is prepared to submit its motion for reconsideration without further
briefing unless the Court instructs otherwise.


Sincerely,

Stinson LLP

/s/ William L. Greene

William L. Greene

cc:      Peter J. Schwingler
         Jon M. Woodruff




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